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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

NICOLE HUTCHESON, ET AL.,                  §
                                           §
             Plaintiffs,                   §
                                           §
V.                                         §          No. 3:17-cv-2021-BN
                                           §
DALLAS COUNTY, TEXAS, ET AL.,              §
                                           §
             Defendants.                   §

                    MEMORANDUM OPINION AND ORDER

      At 10:30 a.m. on Saturday, August 1, 2015, Joseph Hutcheson entered the front

lobby of the Lew Sterrett Justice Center, commonly known as the Dallas County Jail.

Hutcheson, acting erratically, was eventually detained by officers, administered CPR,

and transported to Parkland Hospital, where he died at 11:31 a.m.

      The medical examiner’s report, referenced in the amended complaint, classified

his death “as ‘homicide’ caused by ‘physiologic stress associated with struggle and

restraint.’” Dkt. No. 40, ¶ 4.58; see also Dkt. No. 42 (complete autopsy report filed in

support of motion to dismiss, concluding that, “[d]ue to the temporal relationship

between the struggle, restraint and his collapse, the manner of death is homicide”).1




      1
         See also Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498-99 (5th
Cir. 2000) (noting that documents “attache[d] to a motion to dismiss are considered
to be part of the pleadings, if they are referred to in the plaintiff’s complaint and are
central to her claim” (citation omitted)); Delacruz v. City of Port Arthur, No. 1:18-
CV-11, 2019 WL 1211843, at *6 (E.D. Tex. Mar. 14, 2019) (applying Collins to
consider an autopsy report attached to a motion to dismiss where, like here, injury
is an element of an excessive force claim).
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      This lawsuit, brought by Plaintiffs Nicole Hutcheson, decedent’s wife at the time

that he died, and Ruth Boatner, his mother, alleges that four individual defendants –

Fernando Reyes, Trenton Smith, Betty Stevens, and Elvin Hayes, on the day of the

incident either Detention Security Officers or Sheriff’s Deputies – violated Hutcheson’s

constitutional right to be free from excessive force and that Defendant Dallas County

failed to train its officers, making the County liable for the alleged constitutional

violation under a theory of municipal liability. Plaintiffs also possibly assert a claim

under Texas’s wrongful death statute.

      After the parties filed a written consent, the Court referred this action to the

undersigned United State magistrate judge on February 14, 2019 for all further

proceedings, including entry of judgment. See Dkt. Nos. 38 & 39; see also 28 U.S.C. §

636(c).

      Prior to that, the Court denied Defendants’ first amended motion to dismiss, and

noted that, “[a]t the motion hearing held on January 17, 2019, Plaintiffs, through

counsel, orally moved to amend their Complaint as to the failure to train claim and the

qualified immunity issue. Defendants did not oppose the oral motion, and the Court

granted the motion to amend on the record.” Dkt. No. 37.

      As ordered, see id., Plaintiffs filed a first amended complaint, see Dkt. No. 40.

Defendants then moved to dismiss that complaint under Federal Rules of Civil

Procedure 12(b)(6) and 12(b)(1), see Dkt. Nos. 41 & 42, asserting qualified immunity

as the basis for dismissal by the individual defendants, see Dkt. No. 41 at 12-23.

      The Court converted those portions of the motion to dismiss raising the

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individual officer defendants’ entitlement to qualified immunity to a Federal Rule of

Civil Procedure 56 motion for summary judgment on each officer’s qualified immunity

defense. See Dkt. No. 43; see also FED. R. CIV. P. 12(d).

      The Court allowed Plaintiffs to file a motion for leave to conduct limited

discovery in order to respond to the qualified immunity issues raised in the converted

summary judgment motion. See Dkt. No. 43. And, after Plaintiffs filed their motion for

leave, see Dkt. No. 46, and Defendants responded, see Dkt. No. 47, the Court denied the

motion, see Hutcheson v. Dallas Cnty., Tex., No. 3:17-cv-2021-BN, 2019 WL 1957997

(N.D. Tex. May 2, 2019) (“Plaintiffs’ attempt to obtain any evidence that may support

a version of the facts that may defeat summary judgment on qualified immunity does

not fit within the limited scope of a discovery request ‘narrowly tailored to uncover only

those facts needed to rule on the immunity claim,’” because “open-ended requests – to

uncover any facts, as opposed to specific questions of fact, that may be helpful to their

version of events – fail to advance the second step of the ‘careful procedure’”

established by the United States Court of Appeals for the Fifth Circuit. (citations

omitted)).

      Plaintiffs then filed a court-ordered response to the motion to dismiss and (as

converted in part) for summary judgment. See Dkt. No. 52. And Defendants replied.

See Dkt. No. 55.

      For the reasons explained below, the Court GRANTS the motion to dismiss and

converted motion for summary judgment as to qualified immunity and therefore

DISMISSES this action with prejudice.

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                            Legal Standards and Analysis

I.       Motion to Dismiss as to Municipal Liability

         A.    Legal Standards

         In deciding a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6)

for failure to state a claim upon which relief may be granted, the Court “accepts all

well-pleaded facts as true, viewing them in the light most favorable to the plaintiff.”

In re Katrina Canal Breaches Litig., 495 F.3d 191, 205-06 (5th Cir. 2007). But a

plaintiff must plead “enough facts to state a claim to relief that is plausible on its face,”

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007), and must plead those facts with

enough specificity “to raise a right to relief above the speculative level,” id. at 555.

         “A claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “The plausibility

standard is not akin to a ‘probability requirement,’ but it asks for more than a sheer

possibility that a defendant has acted unlawfully.” Id. “A claim for relief is implausible

on its face when ‘the well-pleaded facts do not permit the court to infer more than the

mere possibility of misconduct.’” Harold H. Huggins Realty, Inc. v. FNC, Inc., 634 F.3d

787, 796 (5th Cir. 2011) (quoting Iqbal, 556 U.S. at 679); see also Inclusive

Communities Project, Inc. v. Lincoln Prop. Co., 920 F.3d 890, 899 (5th Cir. 2019)

(“Where the well-pleaded facts of a complaint do not permit a court to infer more than

the mere possibility of misconduct, the complaint has alleged – but it has not ‘show[n]’




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– ‘that the pleader is entitled to relief.’” (quoting Iqbal, 556 U.S. at 678 (quoting, in

turn, FED. R. CIV. P. 8(a)(2)))).

       While, under Federal Rule of Civil Procedure 8(a)(2), a complaint need not

contain detailed factual allegations, a plaintiff must allege more than labels and

conclusions, and, while a court must accept all of a plaintiff’s allegations as true, it is

“not bound to accept as true a legal conclusion couched as a factual allegation.” Iqbal,

556 U.S. at 678 (quoting Twombly, 550 U.S. at 555). A threadbare or formulaic

recitation of the elements of a cause of action, supported by mere conclusory

statements, will not suffice. See id. Instead, “to survive a motion to dismiss” under

Twombly and Iqbal, a plaintiff need only “plead facts sufficient to show” that the

claims asserted have “substantive plausibility” by stating “simply, concisely, and

directly events” that the plaintiff contends entitle him or her to relief. Johnson v. City

of Shelby, Miss., 574 U.S. 10, 12 (2014) (per curiam) (citing FED. R. CIV. P. 8(a)(2)-(3),

(d)(1), (e)); see also Inclusive Communities Project, 920 F.2d at 899 (“‘Determining

whether a complaint states a plausible claim for relief’ is ‘a context-specific task that

requires the reviewing court to draw on its judicial experience and common sense.’”

(quoting Iqbal, 556 U.S. at 679; citing Robbins v. Oklahoma, 519 F.3d 1242, 1248 (10th

Cir. 2008) (“[T]he degree of specificity necessary to establish plausibility and fair

notice, and therefore the need to include sufficient factual allegations, depends on

context.”)).

       Aside from “matters of which judicial notice may be taken under Federal Rule

of Evidence 201,” Inclusive Communities Project, 920 F.2d at 900 (citations omitted),

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a court cannot look beyond the pleadings in deciding a Rule 12(b)(6) motion. Spivey v.

Robertson, 197 F.3d 772, 774 (5th Cir. 1999). Pleadings in the Rule 12(b)(6) context

include attachments to the complaint. In re Katrina Canal Breaches Litig., 495 F.3d

191, 205 (5th Cir. 2007). Documents “attache[d] to a motion to dismiss are considered

to be part of the pleadings, if they are referred to in the plaintiff’s complaint and are

central to her claim.” Collins, 224 F.3d at 498-99 (quoting Venture Assocs. Corp. v.

Zenith Data Sys. Corp., 987 F.2d 429, 431 (7th Cir. 1993)).

      While the Fifth Circuit “has not articulated a test for determining when a

document is central to a plaintiff’s claims, the case law suggests that documents are

central when they are necessary to establish an element of one of the plaintiff’s claims.

Thus, when a plaintiff’s claim is based on the terms of a contract, the documents

constituting the contract are central to the plaintiff’s claim.” Kaye v. Lone Star Fund

V (U.S.), L.P., 453 B.R. 645, 662 (N.D. Tex. 2011). “However, if a document referenced

in the plaintiff’s complaint is merely evidence of an element of the plaintiff’s claim,

then the court may not incorporate it into the complaint.” Id.

      And a plaintiff may not amend his allegations through a response to a motion

to dismiss. “[A] claim for relief” must be made through a pleading, FED. R. CIV. P. 8(a),

and a response to a motion is not among the “pleadings [that] are allowed” under the

Federal Rules of Civil Procedure, FED. R. CIV. P. 7(a); see, e.g., Klaizner v. Countrywide

Fin., No. 2:14-CV-1543 JCM (PAL), 2015 WL 627927, at *10 (D. Nev. Feb. 12, 2015)

(“All claims for relief must be contained in a pleading. A response to a motion is not a

pleading and it is improper for the court to consider causes of action not contained in

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the pleadings.” (citations omitted)).

      B.     Analysis

      “A municipality and/or its policymakers may be held liable under § 1983 ‘when

execution of a government’s policy or custom ... by those whose edicts or acts may fairly

be said to represent official policy, inflicts the [constitutional] injury.’” Salazar-Limon

v. City of Houston, 826 F.3d 272, 277 (5th Cir. 2016) (quoting Monell v. Dep’t of Soc.

Servs., 436 U.S. 658, 694 (1978); citation omitted). That is, “[t]here is no vicarious

municipal liability under § 1983; rather, plaintiffs ‘must prove that “action pursuant

to official municipal policy” caused their injury.’” Three Legged Monkey, L.P. v. City of

El Paso, Tex., 652 F. App’x 236, 239 (5th Cir. 2016) (quoting Connick v. Thompson, 563

U.S. 51, 60 (2011) (quoting, in turn, Monell, 436 U.S. at 691)).

      To assert liability under Monell, a plaintiff must allege “(1) an official policy (2)

promulgated by the municipal policymaker (3) was the moving force behind the

violation of a constitutional right.” Peterson v. City of Fort Worth, 588 F.3d 838, 847

(5th Cir. 2009) (citing Piotrowski v. City of Houston, 237 F.3d 567, 578 (5th Cir. 2001)).

      “Official policy can arise in various forms. It usually exists in the form of written

policy statements, ordinances, or regulations, but may also arise in the form of a

widespread practice that is ‘so common and well-settled as to constitute a custom that

fairly represents municipal policy.’” James v. Harris Cnty., 577 F.3d 612, 617 (5th Cir.

2009) (quoting Piotrowski, 237 F.3d at 579 (quoting, in turn, Webster v. City of

Houston, 735 F.2d 838, 841 (5th Cir. 1984) (en banc))).

      “To proceed beyond the pleading stage, a complaint’s ‘description of a policy or

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custom and its relationship to the underlying constitutional violation ... cannot be

conclusory; it must contain specific facts.’” Peña v. City of Rio Grande City, 879 F.3d

613, 622 (5th Cir. 2018) (quoting Spiller v. City of Tex. City, Police Dep’t, 130 F.3d 162,

167 (5th Cir. 1997); footnote omitted); see also Pinedo v. City of Dallas, Tex., No. 3:14-

cv-958-D, 2015 WL 5021393, at *5 (N.D. Tex. Aug. 25, 2015) (“To establish a custom,

a plaintiff must demonstrate (and, at the pleading stage, must plausibly plead) ‘a

pattern of abuses that transcends the error made in a single case.’” (quoting

Piotrowski, 237 F.3d at 582)).

       Plaintiffs contend that, under Monell, the County is liable for its failure to train

the four individual defendants here. See Dkt. No. 40 at 10-12, 16-18.

       “Failure to train is a separate theory of municipal liability, but the same

standard applies both to a failure to train claim and to a municipal liability claim.”

Pinedo, 2015 WL 5021393, at *9 (citations omitted); cf. Anderson v. Marshall Cnty.,

Miss., 637 F. App’x 127, 134 (5th Cir. 2016) (per curiam) (“Even within the difficult

world of Monell liability, failure-to-train claims are especially difficult to establish.”

(citing Connick, 563 U.S. at 61 (“A municipality’s culpability for a deprivation of rights

is at its most tenuous where a claim turns on a failure to train.”))).

       Plaintiffs allege the following facts to support their failure-to-train theory of

municipal liability:

              The Dallas County Sheriff’s Department’s General Orders instruct
       law enforcement and detention personnel that the head and neck area are
       considered “no-impact zones” unless deadly force is justified, due to the
       high risk of serious injury or death to the suspect.
              The Dallas County Sheriff’s Department’s General Orders instruct

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    law enforcement and detention personnel that after suspects are
    handcuffed, they should be sat upright or placed on their side to prevent
    what is known as “positional asphyxia.”
          The Dallas County Sheriff’s Department’s General Orders instruct
    law enforcement and detention personnel that “hog tying” suspects (the
    act of forcing their legs against their buttocks) has been banned
    nationwide for decades because of its tendency to cause “positional
    asphyxia.”
          The Dallas County Sheriff’s Department’s General Orders instruct
    law enforcement and detention personnel on how to accommodate their
    usual practices when encountering suspects who are mentally ill or those
    who suffer from a drug-induced psychosis.
          The Dallas County Sheriff’s Department’s General Orders instruct
    law enforcement and detention personnel to use de-escalation techniques
    when confronting suspects who are unarmed and are not a physical
    danger to themselves or others.
          The Dallas County Sheriff’s Department’s General Orders instruct
    law enforcement and detention personnel to provide CPR properly to
    nonresponsive suspects.
          In a January 2011 article from PoliceOne.com entitled “Key
    Considerations for Good Use of Force Policies,” Terrance P. Dwyer, a
    22-year veteran of the New York State Police, a licensed attorney, and a
    tenured Professor in the Justice and Law Administration Department at
    Western Connecticut State University, wrote:
          Merely having a policy in place is not enough; it must be
          implemented and followed. Ideally the Policy and the
          Practice should mirror each other. Having a policy in place
          on the use of force but not training officers in the proper
          execution of that policy can lead to liability for an
          unconstitutional policy by failing to train or to supervise.
          These claims may give rise to a claim of deliberate
          indifference against supervisors and the municipality,
          which is akin to alleging an unwritten policy of
          unconstitutional behavior.
          Accordingly, the Dallas County policymakers who order and/or
    provide the training discussed in paragraphs 4.61 to 4.66 must take
    affirmative measures to ensure that the law enforcement and detention
    personnel who receive the training actually retain the information
    provided in the training.
          Similarly, the Dallas County policymakers who order and/or
    provide the training discussed in paragraphs 4.61 to 4.66 must take
    affirmative measures to ensure that the law enforcement and detention
    personnel who receive the training actually perform their duties in

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      accordance with that training.

Dkt. No. 40, ¶¶ 4.61-4.69.

      “[T]he failure to provide proper training may fairly be said to represent
      a policy for which the [municipality] is responsible, and for which [it] may
      be held liable if it actually causes injury.” “In resolving the issue of a
      [municipality’s] liability, the focus must be on adequacy of the training
      program in relation to the tasks the particular officers must perform.” A
      plaintiff must [allege and – then ultimately – ]show that (1) the
      municipality’s training policy or procedure was inadequate; (2) the
      inadequate training policy was a “moving force” in causing violation of
      plaintiff’s rights; and (3) the municipality was deliberately indifferent in
      adopting its training policy.

Shumpert v. City of Tupelo, 905 F.3d 310, 317 (5th Cir. 2019) (quoting City of Canton

v. Harris, 489 U.S. 378, 390 (1989); then citing Sanders-Burns v. City of Plano, 594

F.3d 366, 381 (5th Cir. 2010); Valle v. City of Houston, 613 F.3d 536, 544 (5th Cir.

2010); Pineda v. City of Houston, 291 F.3d 325, 332 (5th Cir. 2002)).

      As for the second requirement, “‘the connection must be more than a mere ‘but

for’ coupling between cause and effect.’ ‘The deficiency in training must be the actual

cause of the constitutional violation.’” Id. (quoting Valle, 613 F.3d at 546).

      And “[d]eliberate indifference is a stringent standard, requiring proof that a

municipal actor disregarded a known or obvious consequence of his action.” Valle, 613

F.3d at 547. As such, “a plaintiff must [allege – and then ultimately – ]show that

      in light of the duties assigned to specific officers or employees the need for
      more or different training is so obvious, and the inadequacy so likely to
      result in the violation of constitutional rights, that the policymakers of
      the city can reasonably be said to have been deliberately indifferent to the
      need.

Wright v. City of Garland, Tex., No. 3:10-cv-1852-D, 2014 WL 5878940, at *4-*5 (N.D.


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Tex. Nov. 13, 2014) (quoting Valle, 613 F.3d at 547 (quoting, in turn, City of Canton,

489 U.S. at 390)).

       Deliberate indifference may be found in two types of situations: (1) a
       general failure to provide adequate training in light of the foreseeable
       serious consequences that could result, and (2) a municipality fails to act
       in response to the specific need to train a particular officer. See City of
       Canton, 489 U.S. at 390; Brown v. Bryan Cnty., 219 F.3d 450, 457 (5th
       Cir. 2000).

Hobart v. Estrada, 582 F. App’x 348, 357 (5th Cir. 2014) (citations modified).

       Plaintiffs do not allege that the County failed to respond to a specific need to

train any particular officer defendant. Their complaint therefore appears to invoke the

first situation, which “usually” would also require allegations to “show a pattern of

similar violations.” Id. (citing Valle, 613 F.3d at 547); see also Littell v. Houston Indep.

Sch. Dist., 894 F.3d 616, 624 (5th Cir. 2018) (“This proof-by-pattern method is

‘ordinarily necessary.’” (quoting Bd. of Cnty. Comm’rs v. Brown, 520 U.S. 397, 409, 117

(1997))). Plaintiffs allege no pattern of similar violations.

              But even absent proof of pattern, deliberate indifference can still
       be inferred if the factfinder determines that the risk of constitutional
       violations was or should have been an “obvious” or “highly predictable
       consequence” of the alleged training inadequacy. Such an inference is
       possible in only very narrow circumstances: The municipal entity must
       have “fail[ed] to train its employees concerning a clear constitutional duty
       implicated in recurrent situations that a particular employee is certain
       to face.”
              Thus, for example, if a city policymaker opts to provide no training
       whatsoever to police officers concerning the established and recurring
       constitutional duty not to use excessive deadly force, a factfinder may
       reasonably infer that the city acted with the requisite deliberate
       indifference. The [United States] Supreme Court explained as much in
       Canton, by way of hypothetical:
              [C]ity policymakers know to a moral certainty that their
              police officers will be required to arrest fleeing felons. The

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             city has armed its officers with firearms, in part to allow
             them to accomplish this task. Thus, the need to train
             officers in the constitutional limitations on the use of deadly
             force, can be said to be “so obvious[ ]” that failure to do so
             could properly be characterized as “deliberate indifference”
             to constitutional rights.
      “Under those circumstances there is an obvious need for some form of
      training.” Otherwise, the Supreme Court has said, there would be “no
      way for novice officers to obtain the legal knowledge they require” to
      conform their behavior to their clear and recurring constitutional
      obligations.

Littell, 894 F.3d at 624-25 (citations and footnote omitted); see also Anderson, 637 F.

App’x at 134-35 (“To qualify for the single incident exception, [Plaintiffs] must show

that [Dallas] County’s training was so inadequate that the [C]ounty should have

predicted that an untrained officer would have [harmed Hutcheson] in the way [the

officer defendants] allegedly did. Importantly, ‘[i]t is not enough to say that more or

different training or supervision would have prevented’ [his death]. More specificity is

required to resolve such a claim.” (quoting Estate of Davis ex rel. McCully v. City of N.

Richland Hills, 406 F.3d 375 (5th Cir. 2005))).

      In sum, to plead Monell liability under the single-incident exception where

deliberate indifference is based on a general failure to provide adequate training, a

plaintiff must allege factual content showing (or from which it may be inferred) that

the training provided by the municipality was so inadequate that it should have

predicted that those deficiencies would have caused the specific harm alleged, not that

more or different training would have prevented it.

      Measured against these standards, Plaintiffs’ pleading is deficient. Based on the

facts alleged, as set out above, they assert:

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             If Dallas County failed to train its law enforcement and detention
      personnel on the mandates discussed in paragraphs 4.61 to 4.66, above,
      it acted with deliberate indifference to Mr. Hutcheson’s constitutionally
      protected rights, because the consequences of failing to provide such
      training are known or obvious.
             Alternatively, if Dallas County provided its law enforcement and
      detention personnel with the training discussed in paragraphs 4.61 to
      4.66, but failed to ensure that its law enforcement and detention
      personnel actually retained the information provided in the training, it
      acted with deliberate indifference to Mr. Hutcheson’s constitutionally
      protected rights, because the consequences of failing to ensure that its
      officers understood the training they received are known or obvious.
             Alternatively, if Dallas County provided its law enforcement and
      detention personnel with the training discussed in paragraphs 4.61 to
      4.66, but failed to ensure that its law enforcement and detention
      personnel actually performed their duties in accordance with the
      information provided in the training, it acted with deliberate indifference
      to Mr. Hutcheson’s constitutionally protected rights, because the
      consequences of failing to ensure that its officers comply with the training
      are known or obvious.
             The fact that this incident occurred at all demonstrates the obvious
      need for Dallas County to provide its officers with additional or different
      training.
             But for Dallas County’s failure to train law enforcement and
      detention personnel with mandates discussed in paragraphs 4.61 to 4.66,
      or alternatively, its failure to ensure that its officers understood these
      mandate they received, or alternatively, its failure to ensure that its
      officers complied with these mandates, directly caused (and was therefore
      a “moving force”) of Joseph Hutcheson’s death because, had they acted in
      accordance with these mandates, Joseph Hutcheson would not have
      suffered the “physiologic stress associated with struggle and restraint,”
      which the medical examiner identified as a cause of his death.

Dkt. No. 40, ¶¶ 5.21-5.25.

      In their response to Dallas County’s motion to dismiss, “Plaintiffs concede that

they have not alleged a pattern of similar incidents” but take issue with the County’s

argument that they did not allege that the County failed to train its officers: “that is

exactly what Plaintiffs have alleged in paragraph 5.21 of its amended complaint: ‘If


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Dallas County failed to train its law enforcement and detention personnel on the

mandates discussed ... above, it acted with deliberate indifference to Mr. Hutcheson’s

constitutionally protected rights, because the consequences of failing to provide such

training are known or obvious.’” Dkt. No. 52 at 30-31.

      But that allegation is not the same as the hypothetical posed in Canton, in which

the United States Supreme Court discussed broad training on an area of the law, “the

constitutional limitations on the use of deadly force,” not the failure to train as to

specified subjects within a broader subject matter – such as those Plaintiffs set out in

paragraphs 4.61-4.66 of the amended complaint.

      For example, a panel of the Fifth Circuit found that Canton’s single-incident

hypothetical applied to the allegations in Littell, where

      the alleged facts, taken together and assumed to be true, permit the
      reasonable inference – i.e., the claim has facial plausibility – that the risk
      of public officials’ conducting unconstitutional searches was or should
      have been a “highly predictable consequence” of the school district’s
      decision to provide its staff no training regarding the Constitution’s
      constraints on searches. Indeed, Plaintiffs’ allegations mirror Canton’s
      hypothetical in all material respects.

Littell, 894 F.3d at 625; see id. at 626-27 (“In these circumstances, the Supreme Court

has said, ‘there is an obvious need for some form of training.’ But, critically, the school

district here allegedly provides ‘no training whatsoever’ as to how to conduct a lawful

search. This straightforward factual allegation carries straightforward doctrinal

consequences. It means that, for purposes of resolving the school district’s motion to

dismiss, we must assume that this is not a case in which “an otherwise sound

[training] program has occasionally been negligently administered,” or in which an

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officer received appropriate training that she then failed properly to obey. Nor do

Plaintiffs rely on only a ‘nuance[d]’ flaw in an existing training regime, or attempt to

derive municipal liability from the mere fact that ‘additional training would have been

helpful.’ Instead, we must credit Plaintiffs’ factual allegations and proceed on the

assumption that the school district has made the conscious choice to take no

affirmative steps to instruct any of its employees on the constitutional rules governing

student searches – even though at least some of those employees are regularly called

upon to conduct such searches. In short, this case presents an alleged ‘complete failure

to train’ of the kind we have found actionable. Plaintiffs’ allegations of deliberate

indifference survive a motion to dismiss.” (citations omitted)).

      At most, Plaintiffs’ factual allegations raise an inference that, had the County

provided more adequate training as to the specific general orders Plaintiffs cite, or had

the County more competently administered its training program, the harm could have

been prevented.

      But, as the cases discussed above explain, such allegations do not reflect that the

County consciously chose to not train its officers – “not even at all” – as to the use of

deadly force. Jason v. Tanner, 938 F.3d 191, 199 (5th Cir. 2019) (“We found that the

facts [in Littell] ‘mirror[ed] Canton’s hypothetical in all material respects.’ But here,

there was training. There was also a monitoring system in place. Again, it just failed

to prevent the attack. Put differently: square peg, round hole. Littell was about a

supervisor who didn’t train his subordinates; not even at all. Had he adequately

trained them, they would’ve known not to strip search young girls.” (footnote omitted)).

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      As such, the amended complaint fails to plausibly allege Monell liability under

the facts and the theory that Plaintiffs advance. The Court therefore grants Dallas

County’s motion to dismiss with prejudice, as Plaintiffs have already been afforded an

opportunity to amend their allegations against the County.

II.    Motion for Summary Judgment as to Qualified Immunity

      Qualified immunity is only “nominally an affirmative defense.” Brumfield v.

Hollins, 551 F.3d 322, 326 (5th Cir. 2008). In reality, it is an immunity from suit and

must therefore be resolved “at the earliest possible stage.” Hunter v. Bryant, 502 U.S.

224, 227 (1991) (“[B]ecause the entitlement is an immunity from suit rather than a

mere defense to liability, we repeatedly have stressed the importance of resolving

immunity questions at the earliest possible stage in litigation.”).

      It may be raised and considered through a motion on the pleadings, and when

this occurs, the Court focuses on the sufficiency of a plaintiff’s pleadings to resolve the

factual prong of the analysis. See, e.g., McLin v. Ard, 866 F.3d 682, 688 (5th Cir. 2018)

(“When the motion to dismiss raises the defense of qualified immunity, the plaintiff

‘must plead specific facts that both allow the court to draw the reasonable inference

that the defendant is liable for the harm ... alleged and that defeat a qualified

immunity defense with equal specificity.’” (quoting Zapata v. Melson, 750 F.3d 481, 485

(5th Cir. 2014) (quoting, in turn, Backe v. LeBlanc, 691 F.3d 645, 648 (5th Cir. 2012))));

cf. Shaw v. Villanueva, 918 F.3d 414, 416-17 (5th Cir. 2019) (“When a defendant

asserts qualified immunity, the plaintiff bears the burden of pleading facts that

demonstrate liability and defeat immunity.” (citing Zapata, 750 F.3d at 485;

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McClendon v. City of Columbia, 305 F.3d 314, 323 (5th Cir. 2002) (en banc) (per

curiam))).

       But considering the nominal affirmative defense in this posture is difficult if,

like here, the record reflects that a video of the use-of-force incident exists, see Dkt.

Nos. 27, 28, because, to the extent that the video “‘discredits [Plaintiffs’] description of

facts, a court will[ – at least by the summary-judgment stage – ]consider the facts in

the light depicted by the videotape,’” Shepherd v. Shreveport, 920 F.3d 278, 283 (5th

Cir. 2019) (quoting Carnaby v. City of Houston, 636 F.3d 183, 187 (5th Cir. 2011)); see

also Scott v. Harris, 550 U.S. 372, 381 (2007).

       The existence of the video – and its centrality to whether qualified immunity

attaches to any officer defendant’s actions – prompted the Court to convert those

portions of the motion to dismiss raising entitlement to qualified immunity to a Rule

56 motion for summary judgment on each officer’s qualified immunity defense. See Dkt.

No. 43. This conversion (and the Court’s granting Plaintiffs an opportunity to move for

leave to conduct focused qualified immunity discovery) also furthered the Supreme

Court’s mandate that lower federal courts must resolve an entitlement to qualified

immunity at the earliest possible stage of the litigation. Here, it would have made little

sense to address qualified immunity on the pleadings, ignoring the video, and then, if

the defense was not resolved on the pleadings, to consider the video in ruling on a

later-filed motion for summary judgment.

       The Court explains this preliminarily because it seems that Plaintiffs may

misunderstand how “[a] good-faith qualified immunity defense alters the usual

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summary judgment burden of proof.” Valderas v. City of Lubbock, 937 F.3d 384, 389

(5th Cir. 2019) (per curiam).

      Plaintiffs explain in their response to the converted summary judgment motion

      that it is somewhat difficult to “respond” to arguments that the individual
      defendants never actually made. The substance of section 1-A of their
      amended motion to dismiss is devoted to rehashing the allegations in
      Plaintiffs’ amended complaint and then arguing that the allegations did
      not assert a plausible claim for relief, (as if Plaintiffs had admitted that
      the force used was “minimal” and “routine.”) The individual Defendants
      further argued that Plaintiffs’ allegations did not describe objectively
      unreasonable conduct – or in the alternative, that it did not violate
      clearly established law.
              Because the individual Defendants never filed a motion for
      summary judgment, they never advanced an argument that either (a) the
      evidence filed in support of their motion to dismiss conclusively
      establishes the absence of a fact issue on either of these elements; or (b)
      that Plaintiffs cannot come forward with any evidence that would do so.
      It is well-established that a court may not grant a motion for summary
      judgment on a ground not stated in the motion. But in light of this
      Court’s order denying Plaintiffs an opportunity for limited discovery and
      requesting a response to the motion as it presently stands, Plaintiffs
      presume that the individual Defendants are arguing that the [ ] evidence
      they filed in support of their motion to dismiss conclusively establishes
      the absence of a material fact on the elements of this defense.
              To that end, if the individual Defendants believe that an entirely
      silent video “conclusively establishes” their qualified-immunity defense,
      they are mistaken. Last year, the Fifth Circuit in Darden v. City of Fort
      Worth, Texas, ... not only held that “a police officer uses excessive force
      when the officer strikes, punches, or violently slams a suspect who is not
      resisting arrest,” it also held that this law was “clearly established” for an
      incident that occurred in May 2013 – more than two years before the
      incident that is the subject of this suit. Accordingly, if the evidence that
      Defendants produced shows that Joseph was not resisting arrest at the
      time he was first slammed to the ground, Defendants are not entitled to
      summary judgment on their qualified immunity defense.

Dkt. No. 52 at 9-10 (footnotes and emphasis omitted).

      Unlike a traditional affirmative defense when considered at summary judgment,


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where its movant “must establish beyond peradventure all of the essential elements

of the ... defense to warrant judgment in his favor,” Fontenot v. Upjohn Co.,780 F.2d

1190, 1194 (5th Cir. 1986), once a defendant asserts qualified immunity – regardless

how – the burden shifts to the plaintiff “to demonstrate the inapplicability of the

defense,” McClendon, 305 F.3d at 323. So, here, although the Court will “view the

evidence in the light most favorable to the nonmoving party[ – except to the extent that

video evidence discredits the nonmovant’s pleaded facts – ]the plaintiff bears the

burden of demonstrating that a defendant is not entitled to qualified immunity.”

Valderas, 937 F.3d at 389 (citation omitted); compare id. (“‘To negate a defense of

qualified immunity and avoid summary judgment, the plaintiff need not present

“absolute proof,” but must offer more than “mere allegations.”’” (quoting Ontiveros v.

City of Rosenberg, 564 F.3d 379, 382 (5th Cir. 2009) (quoting, in turn, Reese v.

Anderson, 926 F.2d 494, 499 (5th Cir. 1991)))), with Mendez v. Poitevent, 823 F.3d 326,

331 (5th Cir. 2016) (noting that the burden at summary judgment “‘to rebut a claim of

qualified immunity once the defendant has properly raised it in good faith’ ... ‘is a

demanding [one]’” (citations omitted)).

      A.     Legal Standards

      “A plaintiff makes out a § 1983 claim if he ‘shows a violation of the Constitution

or of federal law, and then shows that the violation was committed by someone acting

under color of state law,’” Rich v. Palko, 920 F.3d 288, 293-94 (5th Cir. 2019) (quoting

Brown v. Miller, 519 F.3d 231, 236 (5th Cir. 2008); brackets omitted). “But government

officials performing discretionary duties” can respond to such a claim by asserting

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qualified immunity. Id. at 294 (citing Haverda v. Hays Cnty., 723 F.3d 586, 598 (5th

Cir. 2013)). If they do, a court must consider each official’s actions separately. See, e.g.,

Meadours v. Ermel, 483 F.3d 417, 421-22 (5th Cir. 2007).

       “Qualified immunity attaches when an official’s conduct ‘does not violate clearly

established statutory or constitutional rights of which a reasonable person would have

known.’” White v. Pauly, 137 S. Ct. 548, 551 (2017) (per curiam) (quoting Mullenix v.

Luna, 136 S. Ct. 305, 308 (2015) (per curiam)); accord Pearson v. Callahan, 555 U.S.

223, 231 (2009); Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). This “gives government

officials breathing room to make reasonable but mistaken judgments, and protects all

but the plainly incompetent or those who knowingly violate the law.” Stanton v. Sims,

571 U.S. 3, 6 (2013) (per curiam) (quoting Ashcroft v. al-Kidd, 563 U.S. 731, 743 (2011);

internal quotation marks omitted); accord City & Cnty. of San Francisco v. Sheehan,

575 U.S. 600, 135 S. Ct. 1765, 1774 (2015); cf. Rich, 920 F.3d at 294 (“In sum, QI

‘represents the norm, and courts should deny a defendant immunity only in rare

circumstances.’” (quoting Romero v. City of Grapevine, 888 F.3d 170, 176 (5th Cir.

2018))); Morrow v. Meachum, 917 F.3d 870, 876 (5th Cir. 2019) (Courts “must think

twice before denying qualified immunity.”).

       Review of a motion for summary judgment based on qualified immunity is

accomplished in two steps, and, while a court may conduct the required two-step

examination in any order, see Pearson, 555 U.S. at 236, “deciding the two prongs in

order ‘is often beneficial,’” Darden v. City of Fort Worth, 866 F.3d 698, 702 (5th Cir.

2017) (quoting Pearson, 555 U.S. at 236).

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       Regardless which prong is addressed first, a court must decide “whether the

facts, taken in the light most favorable to the plaintiff, show the officer’s conduct

violated a federal constitutional or statutory right.” Luna v. Mullenix, 773 F.3d 712,

718 (5th Cir. 2014) (citing Tolan v. Cotton, 572 U.S. 650, 655-56 (2014) (per curiam);

Flores v. City of Palacios, 381 F.3d 391, 395 (5th Cir. 2004)), reversed on other grounds,

136 S. Ct. 305 (2015). Put differently, under the first prong, a court simply must decide

“whether the plaintiff has alleged a violation of a constitutional right.” Charles v. Grief,

522 F.3d 508, 511 (5th Cir. 2008).

       A court must also decide “whether the defendant’s actions violated clearly

established statutory or constitutional rights of which a reasonable person would have

known.” Flores, 381 F.3d at 395. This second prong of the analysis requires a court to

determine “whether the defendant’s conduct was objectively reasonable in light of the

clearly established law at the time of the incident.” Charles, 522 F.3d at 511. That is,

“whether it would have been clear to a reasonable [official] in the [defendants’] position

that their conduct was unlawful in the situation they confronted.” Wood v. Moss, 572

U.S. 744, 758 (2014) (quoting Saucier v. Katz, 533 U.S. 194, 202 (2001); internal

quotation marks and original brackets omitted); see also Mullenix, 136 S. Ct. at 308

(“[a] clearly established right is one that is ‘sufficiently clear that every reasonable

official would have understood that what he is doing violates that right’”(quoting

Reichle v. Howards, 566 U.S. 658, 664 (2012))).

       This inquiry “must be undertaken in light of the specific context of the
       case, not as a broad general proposition.” Mullenix, 136 S. Ct. at 308
       (quoting Brosseau v. Haugen, 543 U.S. 194, 198-99 (2004)). The [United

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      States] Supreme Court does “not require a case directly on point, but
      existing precedent must have placed the statutory or constitutional
      question beyond debate.” al-Kidd, 563 U.S. at 741 “It is the plaintiff’s
      burden to find a case in [her] favor that does not define the law at a ‘high
      level of generality.’” Vann v. City of Southaven, 884 F.3d 307, 310 (5th
      Cir. 2018) (quoting Cass v. City of Abilene, 814 F.3d 721, 733 (5th Cir.
      2016)).

Bustillos v. El Paso Cnty. Hosp. Dist., 891 F.3d 214, 222 (5th Cir. 2018) (citations

modified).2

      The Supreme Court recently explained this inquiry in the Fourth Amendment

context:

      Where constitutional guidelines seem inapplicable or too remote, it does
      not suffice for a court simply to state that an officer may not use
      unreasonable and excessive force, deny qualified immunity, and then
      remit the case for a trial on the question of reasonableness. An officer
      “cannot be said to have violated a clearly established right unless the
      right’s contours were sufficiently definite that any reasonable official in
      the defendant’s shoes would have understood that he was violating it.”
      That is a necessary part of the qualified-immunity standard.

Kisela v. Hughes, 138 S. Ct. 1148, 1153 (2018) (per curiam) (quoting Plumhoff v.

      2
         See also Morgan v. Swanson, 659 F.3d 359, 371-72 (5th Cir. 2011) (en banc)
(A court “must be able to point to controlling authority – or a robust consensus of
persuasive authority – that defines the contours of the right in question with a high
degree of particularity.” (footnote and internal quotation marks omitted)); Lincoln v.
Turner, 874 F.3d 833, 850 (5th Cir. 2017) (“While we may look to other circuits to
find clearly established law, we must consider ‘the overall weight’ of such authority.
A ‘trend’ alone is just that. As of December 2013, only two circuits had weighed in
on the ‘contours of the right.’ These cases alone do not provide sufficient authority
to find that the law was clearly established.” (footnote omitted)); Bustillos, 891 F.3d
at 222 (holding that the plaintiff failed to shoulder her burden to “point[] ... to any
case that shows, in light of the specific context of this case, that the [defendants’]
conduct violated clearly established law” and that, although the court’s
“independent review [ ] uncovered” persuasive authority, “a single, fifty year old
case from another circuit is [not] sufficient in this instance to have ‘placed the ...
constitutional question [at issue] beyond debate’” (quoting al-Kidd, 563 U.S. at
741)).
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Rickard, 572 U.S. 765, 778-79 (2014); reversing denial of summary judgment on a

qualified immunity defense); see also Sause v. Bauer, 138 S. Ct. 2561, 2562-63 (2018)

(per curiam) (reversing dismissal of a pro se complaint based on the defendants’

entitlement qualified immunity where the district court failed to liberally interpret the

Fourth Amendment claims).

      B.     Analysis

      “To prevail on a Section 1983 excessive force claim, ‘a plaintiff must establish:

(1) injury (2) which resulted directly and only from a use of force that was clearly

excessive, and (3) the excessiveness of which was clearly unreasonable.’” Shepherd, 920

F.3d at 283 (quoting Harris v. Serpas, 745 F.3d 767, 772 (5th Cir. 2014) (quoting, in

turn, Ramirez v. Knoulton, 542 F.3d 124, 128 (5th Cir. 2008)); citing Graham v.

Connor, 490 U.S. 386, 393-97 (1989)).

      Accidental contact between an officer and a civilian is not a Fourth
      Amendment seizure – even if it injures the civilian – so a § 1983 plaintiff
      claiming excessive force must show that force was applied intentionally.
      See Brower v. Cnty. of Inyo, 489 U.S. 593, 596-97 (1989) (explaining that
      a seizure occurs only when a suspect’s “freedom of movement” is
      terminated “through means intentionally applied” by the governmental
      actor); Gorman v. Sharp, 892 F.3d 172, 175 (5th Cir. 2018) (holding there
      can be no § 1983 liability for excessive force “in the absence of intentional
      conduct”). And even if the seizure involves intentional conduct, the
      district court must consider whether it was unreasonable under the
      specific circumstances of the seizure. See, e.g., City of Escondido v.
      Emmons, 139 S. Ct. 500, 503-04 (2019) (per curiam) (reversing the denial
      of qualified immunity where officers threw a man to the ground during
      an arrest).

McDonald v. McClelland, 779 F. App’x 222, 225-26 (5th Cir. 2019) (per curiam).

            In excessive-force claims under the Fourth Amendment, the
      reasonableness of an official’s conduct depends on “the facts and

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      circumstances of each particular case, including the severity of the crime
      at issue, whether the suspect poses an immediate threat to the safety of
      the officers or others, and whether he is actively resisting arrest or
      attempting to evade arrest by flight.” Graham, 490 U.S. at 396. The court
      must adopt “the perspective of a reasonable officer on the scene, rather
      than [judge] with the 20/20 vision of hindsight.” Id. “The calculus of
      reasonableness must embody allowance for the fact that police officers are
      often forced to make split-second judgments – in circumstances that are
      tense, uncertain, and rapidly evolving – about the amount of force that is
      necessary in a particular situation.” Id. at 396-97. “As in other Fourth
      Amendment contexts, however, the ‘reasonableness’ inquiry in an
      excessive force case is an objective one: the question is whether the
      officers’ actions are ‘objectively reasonable’ in light of the facts and
      circumstances confronting them, without regard to their underlying
      intent or motivation.” Id. at 397.

Brothers v. Zoss, 837 F.3d 513, 518-19 (5th Cir. 2016) (footnote omitted).

      Plaintiffs allege:

             Mr. Hutcheson entered the lobby wearing a ball cap, Dallas
      Cowboys jersey, and shorts.
             Mr. Hutcheson appeared to be panicked when he entered the lobby.
             Mr. Hutcheson appeared to be physically unstable when he entered
      the lobby.
             It was clear that Mr. Hutcheson had nothing in his hands when he
      entered the lobby.
             It was clear that Mr. Hutcheson was not armed with any type of
      weapon when he entered the lobby.
             Mr. Hutcheson did not make any threats to anyone after he
      entered the lobby.
             Immediately after Mr. Hutcheson entered the lobby, he slowed his
      pace, walked towards a single row of benches along the wall, and sat
      down.
             As Mr. Hutcheson entered the lobby, he stated to numerous
      individuals, “It’s okay,” “I’m not going to hurt anyone,” and “I need some
      help.”
             Several of the individuals to whom Mr. Hutcheson spoke directed
      him towards Defendant Hayes, a Detention Security Officer who was
      present in the lobby.
             Defendant Hayes approached Mr. Hutcheson and engaged him in
      conversation.
             Defendant Reyes, a Dallas County Sherriff’s Deputy, was working

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    in the lobby’s information booth when Mr. Hutcheson entered the lobby.
           After seeing Mr. Hutcheson speaking to Defendant Hayes,
    Defendant Reyes left the information booth walked towards them.
           Mr. Hutcheson calmly walked away from both Defendants Reyes
    and Hayes and re-took a seat on the bench.
           Defendants Reyes and Hayes followed Mr. Hutcheson and began
    to talk to him as he was seated.
           While seated, Mr. Hutcheson showed Defendants Reyes and Hayes
    that he had nothing in his hands and no weapons in his pockets.
           After approximately thirty seconds, Mr. Hutcheson stood up and
    began to follow Defendant Reyes towards the information booth.
           Following the conversation with Mr. Hutcheson and Defendant
    Reyes, Defendant Hayes left the building.
           Following the conversation with Mr. Hutcheson and Defendant
    Hayes, Defendant Reyes returned to the information booth.
           Following the conversation with Defendant Reyes and Defendant
    Hayes, Mr. Hutcheson began to pace around the lobby.
           While pacing around the lobby, Mr. Hutcheson did not make
    physical contact with anyone.
           While pacing around the lobby, Mr. Hutcheson did not say
    anything to anyone.
           While pacing around the lobby, Mr. Hutcheson repeatedly grabbed
    his abdomen.
           While pacing around the lobby, Mr. Hutcheson appeared physically
    unstable.
           While pacing around the lobby, Mr. Hutcheson appeared to be in
    a state of distress.
    ....
           While he was pacing around the lobby, neither Defendant Stevens
    nor Defendant Smith – both of whom were working as Detention Security
    Officers in the lobby – appeared concerned with Mr. Hutcheson’s
    behavior.
           Upon seeing Mr. Hutcheson pacing in the lobby, Defendant Reyes
    quickly left the information booth and directly approached Mr.
    Hutcheson.
           Defendant Reyes did not make verbal contact with Defendant
    Stevens or Defendant Smith before approaching Mr. Hutcheson.
           Immediately upon approaching Mr. Hutcheson, Defendant Reyes
    grabbed Mr. Hutcheson by the arms and torso and attempted to force Mr.
    Hutcheson onto the ground.
           Mr. Hutcheson turned away from Defendant Reyes with his arms
    extended, his hands open, and his palms facing down.
           Defendant Reyes’s grabbed Mr. Hutcheson from behind forcing Mr.

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    Hutcheson’s feet out from under him, and Mr. Hutcheson landed on his
    buttocks on the lobby floor.
           Once Mr. Hutcheson’s buttocks were on the floor, Defendant Reyes
    attempted to turn Mr. Hutcheson over so that he was in a prone position
    (face down) on the lobby floor.
           After Defendant Reyes turned Mr. Hutcheson to a prone position,
    Defendants Stevens and Smith ran over to assist Defendant Reyes.
           Defendant Smith placed his knee on Mr. Hutcheson’s shoulder and
    neck area while leaning forward and placing pressure on Mr. Hutcheson.
           Defendant Reyes attempted to place Mr. Hutcheson in handcuffs.
           To assist Defendant Reyes, Defendant Stevens placed her knee on
    Mr. Hutcheson’s back.
           While Defendants Reyes, Smith, and Stevens were engaged in the
    above, Mr. Hutcheson was [writhing] in pain.
           While Defendants Reyes, Smith, and Stevens were engaged in the
    above, Mr. Hutcheson was screaming in pain.
           After Defendants Reyes, Smith, and Stevens handcuffed Mr.
    Hutcheson, they allowed him to remain lying on the floor of the lobby in
    a prone position for more than two minutes.
           While Mr. Hutcheson was handcuffed and lying on the floor of the
    lobby in a prone position, Defendant Hayes returned to the lobby and
    immediately stepped on Mr. Hutcheson’s feet.
           Defendant Hayes then grabbed Mr. Hutcheson’s feet, crossed Mr.
    Hutcheson’s legs, pushed Mr. Hutcheson’s feet towards Mr. Hutcheson’s
    buttocks, and held them there for approximately thirty seconds.
           After Defendant Hayes released Mr. Hutcheson’s legs, Mr.
    Hutcheson does not move again by his own volition.
           Defendants placed Mr. Hutcheson into a seated position for nearly
    ninety seconds after Defendant Hayes released him.
           After Defendants placed Mr. Hutcheson in a seated position, they
    had to support him to keep him from falling over.
           While Mr. Hutcheson was in a seated position, Defendants tapped
    and nudged Mr. Hutcheson’s shoulder, but obtained no visible or audible
    response.
           Four minutes after Defendants placed Mr. Hutcheson in a seated
    position, a nurse arrived in the lobby, but he did not administer first aid
    nor perform CPR.
           CPR was not administered to Mr. Hutcheson for more than seven
    minutes after Defendant Hayes released him.
           Mr. Hutcheson was eventually transported to Parkland Hospital.
           Mr. Hutcheson died at Parkland Hospital at 11:31 a.m.
           The medical examiner’s report noted a six-inch bruise on the back
    of Mr. Hutcheson’s neck.

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             The medical examiner’s report noted that Mr. Hutcheson sustained
      fractured ribs as a result of the CPR.
             The medical examiner’s report classified the Mr. Hutcheson’s death
      as a “homicide” caused by “physiologic stress associated with struggle and
      restraint.”

Dkt. No. 40, ¶¶ 4.04-4.26, 4.34-4.60; see also Dkt. No. 42 (autopsy report) at 9

(explaining that, “[p]er medical records, the decedent left Parkland Hospital on August

1, 2015 at 9:48 am after presenting to the emergency department complaining of

abdominal pain following methamphetamine use” and concluding that he “died as a

result of the combined toxic effects of cocaine and methamphetamine,” which “effects

were compounded by hypertensive cardiovascular disease and physiologic stress

associated with struggle and restraint by police”).

      After the Court converted the qualified-immunity aspects of the motion to

dismiss to a motion for summary judgment, the individual defendants moved to file the

previously-docketed video and its authenticating business records affidavit [Dkt. Nos.

28 & 27] as evidence in support of their summary judgment motion, see Dkt. No. 44,

Plaintiffs did not oppose this request, see id., and the Court granted the motion, see

Dkt. No. 45. But when Plaintiffs later responded to the summary judgment motion,

they failed to provide their own evidence, see Dkt. No. 52. And their amended

complaint is not verified. See Dkt. No. 40.3

      3
         See also Falon v. Holly, 480 F. App’x 325, 326 (5th Cir. 2012) (per curiam)
(“[V]erified complaint[s] and other verified pleadings serve as competent summary
judgment evidence.” (citing Hart v. Hairston, 343 F.3d 762, 765 (5th Cir. 2003))); see
also, e.g., Mitchell v. Cervantes, 453 F. App’x 475, 477-78 (5th Cir. 2011) (per
curiam) (“Mitchell’s allegations in his verified complaint serve as competent
summary judgment evidence and suggest a possible constitutional violation. ...
Based on Mitchell’s proffered facts, the appellants’ use of force was not made in a
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      The qualified immunity inquiry at this stage requires that the Court “accept the

plaintiff’s version of the facts (to the extent reflected by proper summary judgment

evidence) as true.” Haggerty v. Tex. S. Univ., 391 F.3d 653, 655 (5th Cir. 2004); see

Tolan, 572 U.S. at 651 (“In articulating the factual context of the case, the Fifth Circuit

failed to adhere to the axiom that in ruling on a motion for summary judgment, ‘[t]he

evidence of the nonmovant is to be believed, and all justifiable inferences are to be

drawn in his favor.’” (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255

(1986))). But the only evidence before the Court that supports any version of the use-of-

force incident is the video.

      And, while Plaintiffs argue that the video itself cannot establish that the officers’

conduct did not violate a federal constitutional or statutory right because it is “entirely

silent,” e.g., Dkt. No. 52 at 10, Plaintiffs’ failure to offer evidence to support their

version of the facts removes this case from one in which, because the video is “‘not

dispositive,’” “the Court should assume that those events captured by the video

occurred in the manner depicted by the video but ‘resolve any remaining factual

questions ... in [the nonmovants’] favor,’” Blakely v. Kelly, No. 3:16-cv-2801-K-BN, 2020

WL 890383, at *12 (N.D. Tex. Jan. 21, 2020) (quoting Davidson v. AT&T Mobility,

LLC, No. 3:17-cv-06-D, 2019 WL 486170, at *2 (N.D. Tex. Feb. 7, 2019)), rec. accepted,



‘good faith effort to maintain or restore discipline’ and was not ‘nontrivial’ but
disproportionate to any possible provocation. ... On Mitchell’s allegations, as
summarized by the district court, the appellants have not shown that their course of
conduct was not objectively unreasonable under clearly existing law. Accordingly,
they have not demonstrated that they are entitled to qualified immunity as a
matter of law.” (citations omitted)).
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2020 WL 888522 (N.D. Tex. Feb. 24, 2020); cf. Brothers, 837 F.3d at 517 (“The district

court ruled that there were genuine disputes as to material facts. The officers urge us

to review the genuineness in light of the video evidence and Harris’s exception to the

jurisdictional limitation. We agree with the plaintiffs, however, that the video evidence

does not unequivocally disprove their version of events, which we therefore accept for

purposes of this appeal.” (footnote omitted)).

      In sum, the version of events depicted by the video determines, for present

purposes, whether any particular officer defendant violated Hutcheson’s constitutional

right to be free from excessive force. Cf. Meadours, 483 F.3d at 421-22.

      The video depicts that Hutcheson behaved erratically as soon as entered the

lobby, running through the front door and then slowing down to walk toward

approximately ten civilians waiting on a row of benches in the lobby. After he appears

to speak to them, as he then sits down, they all abruptly vacate the benches, scattering

throughout the lobby. An officer appears at the upper right corner of the video. Some

of the civilians who were on the benches notice the officer and point toward to

Hutcheson. Hutcheson then gets up from the bench, and he and the officer walk toward

each other. At this point, Hutcheson has only been in the lobby approximately 30

seconds.

      Hutcheson and the officer appear to speak to each other. Hutcheson walks past

the officer toward the information booth. Another officer emerges from the booth. He

walks toward Hutcheson. The first officer places a hand on Hutcheson, who shrugs it

off, walks back to the benches, and sits down. Both officers appear to speak to

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Hutcheson, who appears to empty his pockets to presumably show that he is not

armed. Two more officers enter the lobby. Hutcheson then stands up. And he and three

of the officers walk toward the upper right corner of the screen, across from the booth.

At this point, Hutcheson has now been in the lobby approximately two minutes.

      Hutcheson then turns around, dropping his shoulder to pass through the

officers, and stumbles back toward the middle of the lobby. He reaches the door,

quickening his step as he does, but turns around to face the booth as one officer walks

toward him from the area of the lobby proximate to the booth – and as the crowd in the

lobby moves away from Hutheson and the approaching officer. That officer then

apprehends Hutcheson, forcing him to the ground on his bottom. He then attempts to

turn Hutcheson on to his stomach, but Hutcheson resists. The two other officers

approach to assist in restraining Hutcheson, who appears to struggle against the

officers, as he shifts from his stomach to his side. The three officers continue to attempt

to handcuff Hutcheson, who continues to struggle, shifting from side to stomach and

kicking his legs.

      After approximately 90 seconds, the fourth officer enters the lobby and does

place his foot on top of Hutcheson’s foot. Hutcheson kicks back at one point, and the

fourth officer does bend Hutcheson’s legs toward his backside. Two new officers now

approach. And it is apparent that, at this point – approximately five minutes after he

first entered – Hutcheson is no longer resisting, as he lies cuffed on his stomach.

      As depicted by the video, medical professionals arrive approximately five

minutes later. CPR is initiated less than two minutes later, and the lobby is cleared.

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CPR is continued until, after eight more minutes, paramedics arrive and continue

administering CPR to Hutcheson.

       As depicted by the video and from the perspective of a reasonable officer on the

scene, the Court cannot find that any officer defendant used excessive force against

Hutcheson, as the video reflects that he struggled at the moment he was physically

restrained, continued to resist arrest once physically restrained, and that, prior to

being physically restrained, Hutcheson evaded the three officers who had escorted him

from the center of the lobby and was moving quickly toward the exit when he stopped,

seconds before he was physically restrained.

       The events depicted by the video played out rapidly. Hutcheson’s erratic moves

plausibly created an uncertain atmosphere that was likely also tense, as further shown

by the bystanders’ reactions to him. Notably, the video shows that officers initially

tried to diffuse the situation by escorting Hutcheson away from the main lobby (and

the civilian bystanders). Force was not used until Hutcheson reversed course, slipping

past the officers and returning to the center of the lobby and toward the exit.

       This determination, that Plaintiffs have not shown a constitutional violation,

could end the qualified immunity analysis, as they have not carried their burden on the

first prong. But, even if they had shown a constitutional violation, they also fail to

carry their burden on the “clearly established” prong of this analysis.

       As the legal standards set out above state, and as the Supreme Court and the

Fifth Circuit have “repeatedly stressed” to lower courts, “[t]he ‘clearly established’

standard [ ] requires that the legal principle clearly prohibit the officer’s conduct in the

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particular circumstances before him. The rule’s contours must be so well defined that

it is ‘clear to a reasonable officer that his conduct was unlawful in the situation he

confronted.’ This requires a high “degree of specificity.’” Dist. of Columbia v. Wesby, 138

S. Ct. 577, 590 (2018) (quoting Saucier, 533 U.S. at 202; Mullenix, 136 S. Ct. at 309);

see also id. (“[C]ourts must not ‘define clearly established law at a high level of

generality, since doing so avoids the crucial question whether the official acted

reasonably in the particular circumstances that he or she faced.’” (quoting Plumhoff,

572 U.S. at 779)); cf. Emmons, 139 S. Ct. at 503 (“In this case, the Court of Appeals

contravened those settled principles. The Court of Appeals should have asked whether

clearly established law prohibited the officers from stopping and taking down a man

in these circumstances. Instead, the Court of Appeals defined the clearly established

right at a high level of generality by saying only that the ‘right to be free of excessive

force’ was clearly established.”).

      Thus, Plaintiffs “must point to case law clearly establishing that [the officers]

acted unreasonably based on facts similar to the particular circumstances they faced,”

E.g., Hale v. City of Biloxi, Miss., 731 F. App’x 259, 264 (5th Cir. 2018) (per curiam)

(the “particular circumstances” there: “the use of deadly force and a taser where a

person suspected of a nonviolent crime ignores repeated warnings to keep his hands

visible and step outside of a confined area when he knows the people warning him are

armed police officers, even if they have not told him he is under arrest”); see also Vann,

884 F.3d at 310 (“It is [Plaintiffs’] burden to find a case in [their] favor that does not

define the law at a ‘high level of generality.’”); cf. Valderas, 937 F.3d at 389 (“[T]he

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plaintiff bears the burden of demonstrating that a defendant is not entitled to qualified

immunity.” (citation omitted)).

      They have not carried this burden. As set out above, Plaintiffs point to Darden,

which they characterize as holding “that ‘a police officer uses excessive force when the

officer strikes, punches, or violently slams a suspect who is not resisting arrest.’” Dkt.

No. 52 at 10 (citing Darden, 880 F.3d at 725-31).

      But the particular circumstances in Darden were not those faced by the officers

here. And the particular force applied in Darden was not the type of force used here.

As the Fifth Circuit set out the factual background in its decision,

      [i]n 2013, the Fort Worth Police Department investigated claims that
      cocaine was being sold from a private residence. A magistrate judge
      issued a warrant that allowed the officers to enter the residence without
      first knocking and announcing themselves. On May 16, 2013, a large
      team of heavily armed police officers executed the warrant. Officer Snow
      was assigned to the entry team, which was tasked with breaking down
      the front door, entering the residence, and securing the premises. Officer
      Romero drove the van that transported the team to the residence. He was
      also assigned to stand guard near the front door while other officers
      entered the residence and arrested the people inside. Two other members
      of the team wore cameras on their helmets, which captured on video some
      but not all of the events that transpired as the warrant was executed.
              When the police first arrived at the house, the entry team broke
      down the front door with a battering ram, yelled that they were police,
      and ordered everyone to get down. A large man, later identified as
      Darden, was kneeling on the seat of a couch near the door when the
      officers first entered, and he immediately raised his hands in the air.
      Darden weighed approximately 340 pounds. Several other people were
      sitting and standing in a nearby dining room. As Officer Snow entered
      the residence, he reached out and ripped the shirt off Darden’s back,
      apparently in an attempt to get Darden from the couch to the ground. The
      videos do not show what happened during the twenty-five seconds that
      followed, and there is conflicting testimony about what transpired.
      According to witnesses for the plaintiff, Darden “had no time to react”
      before “[h]e was thrown on the ground” by the officers. Witnesses also

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      testified that Darden never made any threatening gestures and did not
      resist arrest.
              After approximately twenty-five seconds, it became apparent that
      some sort of incident was occurring in the front room. One of the videos
      shows Darden lying on the ground face up. An officer in the front room
      yelled, “Roll over on your face,” at which point, Darden appeared to follow
      directions and rolled over onto his stomach. The video then pans away
      from the scene and does not turn back for approximately fifteen seconds.
      The second video shows that Officer Romero then ran into the house to
      assist. However, in that video, much of the interaction between Darden
      and the officers is totally obscured by the couch. Although not captured
      by the video, eyewitnesses testified that Officer Romero proceeded to
      choke Darden and to repeatedly punch and kick Darden in the face.
              At one point, Darden’s body appeared to come up off the ground for
      a moment, but it is not clear from the video footage whether he came up
      of his own volition or was pulled up by police. The officers then backed
      away, and Officer Snow used a Taser on Darden. Shortly thereafter,
      Darden rolled over onto his stomach and appeared to push himself up on
      his hands. He was immediately pushed back down into the ground by
      police. Throughout these events, other people in the house repeatedly
      yelled, “He’s got asthma,” and “He can’t breathe.” Eyewitnesses also
      testified that Darden himself told the officers he could not breathe.
              A few seconds later, the videos briefly show Darden on his knees,
      with his hands in the air, before Officer Snow tased him a second time.
      Darden fell to the ground and rolled onto his back, where he lay face up
      for a few seconds. Officer Romero then pushed Darden over onto his
      stomach and pressed his face into the ground. As Officer Romero tried to
      pull Darden’s left arm behind his back, Darden seemed to pull his arm
      away. The officers then pushed Darden back into the ground, and one
      officer appeared to put him in a choke hold.
              At that point, other people in the residence were still yelling that
      Darden could not breathe. Nevertheless, several officers continued to
      push Darden’s body into the ground face down, pressed his face and neck
      into the floor, and pulled his arms behind his back so that Officer Romero
      could handcuff him. As Officer Romero finished securing the handcuffs,
      Darden’s body went limp. The officers then pulled Darden’s debilitated
      body up into a sitting position and left him there. Darden appeared to be
      unconscious, and his head hung down on his chest. It was subsequently
      determined that Darden had suffered a heart attack and died.

Darden, 880 F.3d at 725-27 (footnoted omitted); see also id. at 731 (“We have previously

suggested that a constitutional violation occurs when an officer tases, strikes, or

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violently slams an arrestee who is not actively resisting arrest. Thus, if a jury finds

that Darden was not actively resisting arrest, then a jury could likewise conclude that

Officer Snow used excessive force by throwing Darden to the ground and tasing him

twice.” (citations omitted)); id. at 732 (“As stated, we have found that a police officer

uses excessive force when the officer strikes, punches, or violently slams a suspect who

is not resisting arrest. Thus, if a jury finds that no reasonable officer on the scene

would have perceived Darden to be actively resisting arrest, then a jury could also

conclude that Officer Romero used excessive force by choking Darden and repeatedly

punching and kicking him in the face.” (citations omitted)).

      First, “[a]ssuming without deciding that a court of appeals decision may

constitute clearly established law for purposes of qualified immunity,” Emmons, 139

S. Ct. at 503 (citing Sheehan, 135 S. Ct. at 1776), Plaintiffs make “no effort to explain

how [Darden] prohibited [the officers’] actions in this case. That is a problem under

[controlling] precedents:

      “[The Supreme Court has] stressed the need to identify a case where an
      officer acting under similar circumstances was held to have violated the
      Fourth Amendment.... While there does not have to be a case directly on
      point, existing precedent must place the lawfulness of the particular
      [action] beyond debate.... Of course, there can be the rare obvious case,
      where the unlawfulness of the officer’s conduct is sufficiently clear even
      though existing precedent does not address similar circumstances.... But
      a body of relevant case law is usually necessary to clearly establish the
      answer....”

Id. at 503-04 (quoting Wesby, 138 S. Ct., at 581); see also Kisela, 138 S. Ct. at 1153

(“Precedent involving similar facts can help move a case beyond the otherwise ‘hazy

border between excessive and acceptable force’ and thereby provide an officer notice

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that a specific use of force is unlawful. ‘Of course, general statements of the law are not

inherently incapable of giving fair and clear warning to officers.’ But the general rules

set forth in “[Tennessee v. Garner, 471 U.S. 1 (1985),] and Graham do not by

themselves create clearly established law outside an ‘obvious case.’” (citations omitted);

Morrow, 917 F.3d at 876 (“[O]vercoming qualified immunity is especially difficult in

excessive-force cases,” as those “claims often turn on ‘split-second decisions’ to use

lethal force. That means the law must be so clearly established that – in the blink of

an eye, in the middle of a high-speed chase – every reasonable officer would know it

immediately.” (citation omitted)).

       As the Court’s description of the video shows, this is not an obvious case where

every reasonable officer confronting the situation depicted by the video would know

immediately that the force used against Hutcherson was unlawful, which means that,

by failing to identify precedent with similar facts, Plaintiffs have not carried their

burden as to the “clearly established” prong of qualified immunity.

       In sum, the Court dismisses the excessive force claims with prejudice.

III.   State Wrongful Death Act

       In their amended complaint, Plaintiffs’ allegations implicating Texas’s wrongful

death statute are limited to the following:

             Plaintiffs are therefore entitled to bring, and do bring, this action
       under Chapter 71 of the Texas Civil Practice and Remedies Code, also
       known as the Wrongful Death Act of the State of Texas.
             As a result of this claim under the Wrongful Death Act, Plaintiff[s
       are] entitled to recover damages arising from the death of Joseph
       Hutcheson within the jurisdictional limits of this court [as further
       particularized.]

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Dkt. No. 40, ¶¶ 5.26 & 5.27.

      Defendants briefed these allegations “in an abundance of caution,” Dkt. No. 41

at 30 (“It is unclear whether Plaintiffs’ allegations support wrongful death damages

pursuant to 42 U.S.C. § 1983, as allowed pursuant to state law, or whether Plaintiffs

raise a state law wrongful death claim against Dallas County.”), moving to dismiss

such a claim against the individual defendants (under the statutory election-of-

remedies provision) and against the County (as barred by governmental immunity), see

id. at 30-31. And Plaintiffs, in their response, failed to address whether they are indeed

bringing a separate state law wrongful death claim. See generally Dkt. No. 52.

      But, to the extent that they do assert a state law wrongful death claim against

the County and its employees, such a claim is dismissed with prejudice.

      “Municipal governments are immune from tort suits except to the extent that

immunity has been waived by the Texas Tort Claims Act (‘TTCA’).” Hatcher v. City of

Grand Prairie, No. 3:14-cv-432-M, 2014 WL 3893907, at *7 (N.D. Tex. Aug. 6, 2014)

(citations omitted). The TTCA “waives the state’s immunity from suit in certain

circumstances”; “covers all tort theories that may be alleged against a governmental

entity whether or not it waives that immunity”; and provides that, “‘[i]f a suit is filed

under this chapter against both a governmental unit and any of its employees, the

employees shall immediately be dismissed on the filing of a motion by the

governmental unit.’” Gil Ramirez Group L.L.C. v. Houston Indep. Sch. Dist., 786 F.3d

400, 415 (5th Cir. 2015) (quoting TEX. CIV. PRAC. & REM. CODE § 101.106(e); citation

omitted).

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      “Although the TTCA waives immunity in certain limited circumstances, the

waiver does not extend to claims ‘arising out of assault, battery, false imprisonment,

or any other intentional tort.’” Hatcher, 2014 WL 3893907, at *7 (citing TEX. CIV. PRAC.

& REM. CODE § 101.021; then quoting TEX. CIV. PRAC. & REM. CODE § 101.057(2)); see

also Calhoun v. Vila, 761 F. App’x 297, 300 (5th Cir. 2019) (per curiam) (“Texas law

protects governmental entities from suit through sovereign immunity, unless the area

of liability is specifically waived by the Texas Tort Claims Act, such as injury by an

employee’s motor vehicle, injury caused by property conditions, and claims arising from

defects in premises. None of Calhoun’s claims fall under these categories. Additionally,

under Texas law, ‘[i]f a suit is filed ... against both a governmental unit and any of its

employees, the employees shall immediately be dismissed on the filing of a motion by

the governmental unit.’ Therefore, Calhoun’s state law claims against both

governmental entities and individual defendants were properly dismissed.” (citations

omitted)).

                                      Conclusion

      The Court GRANTS the motion to dismiss and converted motion for summary

judgment as to qualified immunity [Dkt. No. 41] and therefore DISMISSES this action

with prejudice and VACATES its previous order referring this case to mediation [Dkt.

No. 35].

      SO ORDERED.

      DATED: April 7, 2020               _________________________________________
                                         DAVID L. HORAN
                                         UNITED STATES MAGISTRATE JUDGE

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